      8:17-cr-01158-DCC        Date Filed 02/19/19       Entry Number 46        Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENWOOD DIVISION

UNITED STATES OF AMERICA                    )         CRIMINAL NO. 8:17-1158
                                            )
               vs.                          )
                                            )
KEITH DARRELL LONG                          )         AMENDED INFORMATION


       The United States of America, by and through its undersigned Assistant United States

Attorney, files this Information thereby notifying the defendant that he is subject to increased

penalties pursuant to Title 21, United States Code, Section 851, based upon the following

convictions:

       1.      November 3, 2010 - conviction for Distribution of Marijuana within Proximity, in
               Newberry County South Carolina, General Sessions Court, charge number 2009-
               GS-36-0529 (offense date of January 6, 2009); sentenced to 100 days.

       2.      December 14, 2007 - conviction for Possession with Intent to Distribute Marijuana
               within Proximity, in Edgefield County South Carolina, General Sessions Court,
               charge number 2007-GS-197-748 (offense date of July 14, 2007); sentenced to
               probation for 5 years with a fine of $5,000.

       The Government reserves the right to amend this information. The dates indicated and

provided relative to each conviction may not be exact, however; certified copies of the relevant

documents have been or will be made available for review.

                                                      Respectfully submitted,

                                                      SHERRI A. LYDON
                                                      UNITED STATES ATTORNEY

                                                By:   s/ Max Cauthen
                                                      Max B. Cauthen, III
                                                      Assistant United States Attorney
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February 19, 2019                                     Greenville, South Carolina 29601
